  CASE 0:18-cv-00886-DWF-DTS Document 17 Filed 07/20/18 Page 1 of 1



                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF MINNESOTA


James Irving Dale,                           Civil File No.: 18-cv-886 (DWF/DTS)

                   Plaintiff,
                                                NOTICE OF APPEARANCE
         vs.

Tom Roy, et al.,

                   Defendants.


         The undersigned attorney hereby notifies the Court and counsel that

Gregory S. Otsuka and Jonathan D. Jay of the law firm of Hellmuth & Johnson,

PLLC, shall appear as counsel of record for Defendant Anagram International in

this case.



Dated: July 20, 2018                   HELLMUTH & JOHNSON, PLLC


                                       By: /s/Gregory S. Otsuka
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